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                 SEC15
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    Message
   From             Ted Livingston {ted@kik.coml
   Sent;            1/27/2017 3~13~44 PM
   To:              Kik Board board@kik.com)
   CC:              Derek Lebert [Derek Iebert@kk coni)
   Subject:         Kik Board Deck


   Hi All,


   Please see attached for the board deck for our meeting Wednesday next week.

   With no bids coming out of the process, and a continued decline in our metrics, we are in a precarious position to say
   the least. Therefore, I would like to spend the majority of the meeting discussing the options to extend our runway. I will
   also have Credit Suisse come in to discuss their view of the process.

   We will also take some tire to discuss two brght spots. One is Tel Aviv, which is proving to be a very competent and
   experienced team, and the other is public groups, which initial data is showing to have a fairly exciting impact on the
   number one metric that drives growth.

   Please make sure to review the board deck ahead of time so that you are prepared for the discussion.

   Ted




   e: ted~k k.com
   k: ted




                                                                  EXHIBIT                                  EXHIBIT
                                                                    28
                                                                   19-cv-5244-AK}I


FDA CONFIDENT AL TREATMENT REQUESTED                                                         KIK_FOUNDATION CAP 005705
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EQIA CONFIDENPAL TREATMENT REQUESTED                                               NIKJDUNDATIQN_CAP.005705
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     Board Meeting                        -   February 1, 2017
     Join 9954894090178 at kik.vidyocloud.com using any of the following options:



     -To join from your desktop or mobile device, please click here
     https://kikvidyocloud.comlflex.html?roomdirect. html&key=cnu7ES4SOD

     -   To join from a telephone using VidyoVoice, dial the following number: (800) 208-0751 x 9954894090178




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                      Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 5 of 68




     Agenda
  1. Introduction 5 mm               -



  2. Board Approvals 10 mm               -


~isse-m in
  4. Main Discussion
             • Metrics 5 mir~    -


             • Two bright spots 10 mm        -


             • How do we extend runway? 120 minutes
                                                 -


          5rEXeCL1t4V~QiSGU6S6~_t01€8
     Total: 3 Hours




                                                                                          ~        kok*
 ECIA CONFIDENTIAL TREATMENT REQUESTED                                              KIK_FOUNDAflDN_CAP_OD57O8
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                     Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 7 of 68




     Prior Meeting Minutes
     See Appendix #1, 2 & 3


     Approval Required: Approve minutes from November 2, 2016, November 10,
     2016, and December 7, 2016 meetings




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F0L4 CONFIDENflAt tREATMENT REQUESTED                                              KIK_FOUNDRTION_CM’_DCSTIO
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     409A Valuation
     409A Valuation of $9.34 USD per Common Share post-Rounds
     See Appendix-#4 for rcport


     Approval Required: Management proposing to reduce exercise price to $10.00
     USD




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FOIA CONFIDENTIAL TREATMENT REQUESTED                                              KIK_FOUNDATION_C~_OCS7I1
                    Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 9 of 68




     Kik T& Aviv
     Need to develop Board for entity in Israel, currently named Ziatan Ltd. (~~Zlatan~~)*.
     Ted & Peter are only two current Board Members of that entity.
     Approval Required:
     Appoint Dany Fishel as an Officer of Zlatan
     Appro~1jaLRecwired:
     To ratify Ted Livingston to the Board of Zlatan

     * Process to change name from “Ziatan Ltd.” to “Kik Interactive Israel Ltd.” is underway and
     requires regulatory approval
                                                                                                         7       kok.
FO~A CONFIDENTIAIThEATMENT REQUESTED                                                                KIKJOUNDM1DN_CAPJOS1I2
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      Cheque Signing & Wire Authorizations
     Approval Required: Update Cheque Signing authorities & limits as recommended below
       • Update cheque signatories:
                CEO, CFO
                      UIWL,1U~, ~iIIdIIt.~
                •    Controller
                •    Manager, Finance
                •    Manager, Administration
                •    President, Kik Israel

        •    Cheque Signing 2 Signatures Required
               •    $Sk USD or etlu~valen Any Iwo sigridloneb
                                               -

               •  <= $SOk USD or equivalent Two signatories, one must be CEO, CFQ, or President, Kik Israel
                                                       -

               •  > $50k USD or equivalent Two signatories, two of CEO, CFO & Director, Finance
                                                   -




        •    Wire Payments
               • Wire prepared by Finance Team & approved by Director, Finance
                • Compensating Control: All wires approved according to Cheque Signing Limits before final transmission of
                   wire

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FOIA CONFIDENTIAL TREATMENT REQUESTED                                            KIK_FOUNDATION_CAP.fl~5714
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         Executive Option Grant
         As discussed at December 9, 2017 option committee
           o   In lieu of an annual salary increase, the following individuals have been recommended for an option
               grant

            o    Additional Erin Cliff option grant of 6,000 to recognize her additional responsibilities


           Erin Clift                         4,000   $1500             3-year, No Cliff             1-Jan-17
           Erin Clift                         6,000   $15.00   4-Year Cliff on Original Start Date   1-Jan-17
           Christina MacDonald                3,000   $15.00            3-year. No Cliff             1-Jan-17
—          c          FW1i~                  ~otC ~$EThC~              ThN~ZIIfi
           Dave Simons                        4,000   $15.00   3-Year Cliff on Original Start Date   1-Jan-li
           Peter l-leinke                     4,000   $15.00            3-year. No Cliff             1-Jan-17
           AIim Dhanji                        4,000   515.00            3-year, No Cliff             1-Jan-17
           Mike Roberts                       3,000   Sis.oo            3-year, No Cliff             1-Jan-li
           I-iayeon Kim                       3,000   $15.00   3-Year Cliff on Orioinal Start Date   1-Jan-li




         Approval Required: To approve the option grants recommended above.

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                  Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 14 of 68




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                      Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 15 of 68




     DAU continues to decline




      SM
           3an 2016         Mar 2016    Hay 2016   Jul2016   sep 2016   Nov 2016   Jan 2017




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FOIA CONFIDENTIAL TREATMENT REQUESTED                                                         KIKjOUNDATION_C~_0OS71B
                       Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 16 of 68




      MAU continues to decline

     3GM

     28H

     2614

     24M

     22M

     2014

            Jan 2016        Mar 2016   May 2016   Jul 2016   Sep 2016   Nov 2016   Jan 2017




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                        Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 17 of 68




      DAU/MAU continues to decline




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             3an 2016         Mar WiG     Nay 2016   Jul 2016   Sep 2016   Nov 2016   Jan 2017




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                       Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 18 of 68




     Activation continues to decline



     :~
      0.3




            Jan 2016         Mar 2016   May 2016   Jul 2016   Sep 2016   No, 2016   Jan 20%?




                                                                                                16       kok~
FOIA CONFIDENTIAL WEATMENT REQUESTED                                                      KIK_FOUNDATI0N~~CAP~~0S?21
                   Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 19 of 68




    Retention continues to decline

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FOIA CONFIDENI1AL WEATMENT REQUESTED
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                                                                                   Surf With Us.



      Relleased Video VI

                                    ______      ______               r

                                                                         Wow! nice one

                                                                         rrn on my way,
                                    _________            _____________   please wait for mel!’

                                                                         Is it the same spot
                                                                         as last time?

                                                                         I-toy guys, turn your videos an



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     People are using it
                          % DAU using video chat
                                                   —           —                     —USteeri




                  0.00%
                           fl-Dec          29-Dec      5-Jan       12-Jan   19—Jan



                                                                                                     21       kok~
FOIA CONFIDENTIAL TREATMENT REQUESTED                                                           KJK_FQUNDA11ON_CAP_005728
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              o   improve introduction/discovery
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                      o Hint on Video Chat Slider
                                                                        aN
              o   improve funnel for joining a call                            H&Io



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                                                                               The video

                      o Show ‘Waiting” Animation                               Thanks



              o   Prioritize v2 vs. other growth features
                     o Video chat effects                                                /—




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     Kik Tel Aviv Team
       o     35 employees
               o     2&strong~ engineers         •       _____             ____




       o     Key Personnel
               o Dany Fishel (CEO & Co-founder)
               °IILeib~vi~h(CPO &~Cotfoun
               ~ Aviv Laufer (CTO)
               • Eran Ben An (VP, Product)



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      Potential Focus Areas We Can Shift To Tel Aviv
       • Push notification full ownership   -



               .     Productlencjineer/Bl enabler to all squads
                                            -



               •     Marketing, promotion & calls for action segmentation based on user journey
       • Data infrastructure Server & Client    -



               •    Focus on key verticals/funnels in the app in which visibility can drive growth.
               a    K~p th~ twn risat~ infrnctri intl imc trw limitArl time tn ~nst im nr~rJihiiity ~nH fri ist
               •    Optimize for real time data.
               •    Save costs.
       • Media as a vertical (PhotosNideos!Audio).
               •    Focus on core functionality improvement and user delight
               •    It’s not a clear cut that this will drive direct growth of DAU.
                                                                                                         24       kok~
FdA CONFIdENTIAL TREATMENT REQUESTED                                                                KJK_FOUNDAT1ON_C~POCS729
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     The sing~e biggest driver of activation and
     retenflon is “do you make a 2 day friend in
     your first week on K11?”                                           ___




      Percentage of the users retained for 30    Percentage of the users retained for 90       Improvement in week over week
     days who made a 2 day friend in week 1     days who made a 2 day friend in week 1     retentiontwo
                                                                                                      over
                                                                                                        daythose
                                                                                                             friendwho  didn’t1 make a
                                                                                                                    in week
                                                                                                                     26


FOIA CONFOENTLAL TREATMEt4T RECU~STED                                                                          KIK_F0uNDATIONSAP..C2573
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     New users haven’t been making 2 day friends
     like they used to




     % of new users who make a2 day friend in their first week

                                                                                       27       ~




FOIn CONFIDENTIAL TREATMENT REOUESTED                                             KI)çFDUNDATIO&CA~_OD5732
                   Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 30 of 68




     Existing users haven’t been making new 2
     day friends like they used to either
                        0.35



                         0.3



                        0.25



                         0.2



                         Jan 2013   Jul 2013   Jan 2014   Jul 2014   Jan 2015   Jul 2015   Jan 2016   Jul 2016   Jan 2017



     # of new 2 day friends existing DAU make per day

                                                                                                                                 28      kok~
FOIA CONFIDENTIAL TREATMENT REQUESTED                                                                                       KlKjOUN0ATl0N_C~fi05733
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    Already 5% of all 2 day friends in the AB test
    group are coming from public groups


                             0.06




                             0,02


                                       Dec11   Dec18   Dec25   Jani   Jan 8   Jan 15
                                0



                                                                                             29       koko
                                                                                       KLK_FOUNDATION_CAP..005734
FOIA CONFIDEN11ALTREATMENT REQUESTED
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  Even though onlly 13% of users in the AB test
  group have discovered the feature,
 ~pmp~tNng we can fix
         80




                                                       (3) Search   Joined Group   (4) Join Group - Got Reply




                                                                                                        30         ~J~(


FdA CONFIDENTIAL TREATMENT REDLIESTED                                                            KIK   OLIN DAT 0 N_CAP0 0573 5
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    We plan to go to 100% roIl out January 31st
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                                         e            PubuoGmups      1-
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         Pubhc groups aligns weN with why people
         afready use Kik
                    Chat Wi famiiy/acq,     Chat ~‘ii family/friends     nit friends/family

                   Look at others’ post     Get something done         Catch up si dtfferent
                                                                        friendship groups
                    Post big moments        Prolessional convos



-

                   Share every moment           To video chat           To video chat v/i
                                                for homework            older generations
                  Let !ooselbe authentic
                                            Professional convos         To make nit calls
                     Peoptes stones




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    Pub#ic groups wiN increasing~y put Kik in a
    unique space we think we can own
    _                        _—         ~




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    Where are we at now?
    Current Situation
     •$25M in cash
     a
     o Runway to September 5, 2017



    What do we need?                                                                  I              __________



     o Projected max deficit of $26M (Credit Suisse Plan)
         o Bottom in July 2018
         o Assumes commencement of revenue in September 2017
              $30M+ required to finance business to stay on plan




                                                                                   KIK_FDUNDATIONSAP_0D5740
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                                        What are our options?



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      Funding Ailternatives

————Funding———
   Options


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    Execution                  ‘0




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          Revenue Accellerafion                                            -   Promoted Content
      Current Plan
      • Launch revenue streams in September2017
____AItemative_~
      • Launch starting in April 2017
                                                   ——
                                                                                             LinE
      Financial Impact:
      ~~~~flW12 :fl~I ~fli,
     Incremental Revenue    $1 4M      $2M
   _Estimatedjmpact.oaSunway_lLDays_ flJ Days_~
      -   Intrtnrnrpl o~ng period /-em Ar,! to cepto—no


      Key Considerations                                                       ___________


                                                                                                ~
          •   Reduces financing risk for new              Requires focus and investment
              investment                                  Negligible impact on runway
          •   Revenue execution 3 months ahead
                                                                                                   38

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     Other Revenue Sources
     Banner Ads
       • Large inventory of potential impressions on Chat List or Find Friends page
       • Intrusive to users

     Location possibilities & potential yield being considered estimated possible
                                                                  -



     revenue $125k-$250k a month




                                                                                      3~        kok~
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      Expenses Under Rev~ew

                                           20%I     980.000 Assessing movement to Cloud for serv
      Marketing Expense                    50%    1,180,000 Review marketing expenses - market activations,
                                                            research, public relations
      I Legal Expenses                     70%      600,000 i Reduction in legal expenses from budget related to
                                                            ~ Oppernian settlement
      Potential Savings                           2,760,000
      Estimated Impact on Runway                         24




      Runway extended to September 29, 2017 with the above cost reductions




                                                                                                                         40

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       Cost Efficiencies: Scenarios Overview

             Headcount
             (Sept 2017)
                                                              165:                  132          ~                                              0

                                                                                 Close NYC and
                                      Repurpose                                 layoff marketing,    Close Israel
                                                          Moderation &          communications    office, close bot  Keep server &  Shut down app
                                       spend br            Technical                                                               ~andrepurp0Sa-~
                                     jmmediate__.—                            - __and reduce~J_        platform’      moderation
_________     Impact on                                   Thdditii5?1W                                                                   funds
              Operations           impact & runway                                 operational    Toronto office, __Jeams~with_—~
                                                            delayed                teams (HP,     reduce Waterloo        limited
                                       extension
                                                                                      Admin)        team by 25%        operatIons


               Adjusted            Scptomnbor 29, 2017    October 8. 20 17     October27, 2017       March 31,2018        August 1,2018
                                            or                  or                   or                     or                  or            Leaves
               Runway
                                   24 additional Days    33 additional days    52 additional days   S additional months       additional
                                                                                                                           11 monlhs       approximately
              Projection*


                *Assumes expense cuts on the previous slide                                                                                     41

                                                                                                                                           Ktx_FouNaATlaN_cAP.Po5746
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     Investment Alternatives
                        Re-engage Strategics from Credit Suisse Process

                        Strategic Investment   —   Banks


                    ) Strategic Investment Cloud/Al
                                               —




                    ) Venture Debt
                         Cryptocurrency

                                                                                        42


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     Re~engage Strategics
    Target Partners
    • Amazon, Rakuten, Tencent & other Credit Suisse
~CurrentStatuc
 • Received feedback from initial acquisition process that acquisition is unlikely at this stage
 • Going back to potential partners who indicated strategic investment may be a fit
 Key Considerations

         heverage-resouroee-&acqufrer’&nnOvation.   ——1inlikely without-turning growth-around——-----—
         technology
     •   Set us up for future acquisition
    Action Items
    • Current: Evaluating strategic fit and requisite pitch
    • Next steps: Coordinate discussions for strategic investment by February 21, 2017

                                                                                                             43



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     Strategic llnvestment                                         Banks
     Target Partners
    • Primary targets: Canadian Big 4 due to personal relationships
    ~                                                       -



     Current Status
     *Joint-venture for payments platform; sell exclusivity period for access to Kik users
     Key Considerations

—            EstablishedssIaUoQshiPS~PraVJOuSlY~eXPr~ed__       ~                                  —

             interest                                       •   Banks are slow moving
         •   Accelerates payments
     Action Items
     • Current: Meeting with Scott Bonham (Scotia) Jan 25, Ten Currie (TD) Jan 26, Victor Dodig & David
        Williamson (CIBC) Feb 16, RBC Date TBD
      • Next steps: Develop strong use case and pitch by February 28, 2017




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    Strategic ~nvestment Hnfrastructure
    Target Partners
    • Primary targets: IBM, Microsoft, Amazon, Google
    CurrentStatus-                                                          -—____            —_____


    • Being assessed with Dave Simons & Aviv Laufer as part of server cost analysis
    Key Considerations

     •       Efficiencies related to server & moderation   Forces technical decisions based on financing
     •       Investor would pickup current server spend    Increased cost & focus required to change servers
             AE6~i6EFathotecosysth~f                                                                           —




    Action Items
         •      Review under way
         •      Being discussed with Credit Suisse




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     Venture Debt
     Target Partners
     • WTI, Tennenbaum, Caravan, Hercules, Comerica, Silicon Valley Bank
     Current-Status
     • Held initial conversations with target partners but expressed little interest with user decline
     Key Considerations

      •   Limited dilution                               More senior issuance
      •   Easier to obtain                    _____________



     Action Items
     • Current: Wait to see Groups impact on userbase before reapproaching
     • Next steps: Develop strong use case and pitch by Feb 28, 2016
     *Dependency: Indication of support from current investors

                                                                                                          46



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   CryptocurreflCv
   Current Status
   • Consider launching a new cryptocurrency called Kik Coins”
   • Use Kik PotQm~fLeL~ Cc s(5xmQf~ dalytrafl~p~1Pj]~cf Kik Point                           eLot[icu~.
     cryptocurrencieS combined)
   • Sell a block of Kik Coins to finance the business

   Key Considerations

     •   New way to raise funds that is in vogue    •   Large pivot in business model
     •   Immediate value exchange on Kikto power        could impact brand if unsuccessful
         transactions

    Action Items
    • Current: Strategic analysis of potential market entrance
    • Next steps: Engage potential partners
                                                                                                     47




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    Recommended Action P~an
    Cost Efficiencies            Decide as board at what level                               Execute decision
                                 ‘~e want to cut                                             _____________—


                                                                 partners
    Strategic Investment         First touch points with big 4   Develop strong use case     Engage banks with
    (Banks)                      banks, evaluating potential     and pitch                   vision and pitch
                                 partners

    Venture Debt                 Establish touch-point with      Estoblish support from                            Engage lender
                                 banks and update user           current Investors                                                       ________
                                _rnetncs-and’pcDrOsr                                                      -‘—‘--—




    Other Revenue Sources                                                                                          Build out
                                                                                                                   nfrastructure br   Launchads
                                                                                                                                      video   banner &
                                                                                                                   Banner Ads

    Cryptocun’ency               Evaiuate opportunities in       Engage potential partners   Assess potential of   Launch
                                 csyptocurrencv and potential    for initial case study      pivot to              cryptocurrency
                                 implementation stralegy         development                 c?yptocurrency        and crowd sale


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   Future Board Meetings
   Future Board Meetings*
     • Wednesday May 3, 2017—Waterloo
     • Wednesday August 2, 2017 Waterloo   -



     • Wednesday November 1, 2017 NY               -



     • Wednesday February 7, 2018 San Francisco-




    Interim Board Calls (Proposed, TBC)
       • Wednesday March 15, 2017
       • Wednesday June 14, 2017
       • Wednesday September 13, 2017

      *Meetings may take place via Video Conference as needed                          51    kok
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       Summarized Capitalization Table (Dec 2016)
                                                                                                       Shro. In.
                                                                      Share. “toad    Cormion Stock                   Fully Oltutid   Fully DCulW
                                                Slier,. Authodzed   end 015 Mk,9          Equivalent   Escrew or            Shore,     Ownet~Np

    Co~wnon Stock dnna
    Common Stock                                       99,999.990        i1.B91.~         11.991,6~          15,972     21,907,572
—Soctcr1~0≠ontjSêtSS..~ih PriM                            249~850                                           248t0          240.850
    ‘foal Common abdclnindm,d ow,dtng                                                     11,091.680                    12,150.422         40.3%


      Pmfennd Stock elsaai
      Suits A Preferred Stock                           4,000.0(0         3.899,9%         3.699.9%                      3,689,9(0
      Doss 42 Prolarrod Stock                             $78,294           497.349          497,349        380,945        878,294
      Strict 8 Pretorrod Stock                          1,770.990         1,779.9%         1,779,993                     1,779,9%
      SorteoC Preferred Stork                           1,651,481         1.651.481        1,651.481                     1.651,401
      Series D Preferred Stock                          1,170,845         2178.045         1,178,845                     1,178045
      Toed Prefnd Stock tnuod sM w5t.dMg                                                   0,806,755                     9,197.719          36.5%


      Employ.. Stocir Opdon Plan                        4,809,861
      I~As k,td .pp,oved                                                                                                                     0.0%
      Options batted md ou1fl,~n~                                                          3,057,929                     3.C61~             12.1%
      afire, nIlaNe foc bcuance undertho plan                                                784.637                      78L637             1.1%


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       Opfion Grants
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      Rounds Purchase DetaNs
      Initial Consideration
                                                                       n~niicePerSh~ns

      PredA~1                         --   497~49~        ~88~60~            ~$23:95~

      Commons                               19518              0                 $924      6182298     1
      Commons (RetenUon - ½)           [    82950     j        0   ]             $9.34     $774753

                                                                                         $14960471


      Contingent Consideration


      Preferred A-i                        292 .765            0                $23.95    67.011,722

      Commons (Retention - ½)              165930              0                 ~        $1,549,508

                                                           .                              $8561288


          Per latest 409A Valuntrnn                                                                  56       ~

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     Integrating Kik Tel Aviv
          • 35 talented employees joined Kik
          • uany Hsriel jorned Kik’s executive team
          • Plans in place to integrate Tel Aviv within 30-60 days
                   • Strategy, Product and Marketing Workstream
                   a People, Culture ancLProcess-Workstream————-——-—--—--—————————————---

          • Strong bias: quickly optimize and leverage the Tel Aviv
            team to contribute to growth

                                                                                         ~ kok~
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     Integrating Kik Tel Aviv
    Strategy, Product & Market~ng                       Peop~e, Ctnflture & Process
       ~/ RACI & Mission of the TLV team                   V On boarding of the TLV team
       1 90 day product roadmap (video)                    V Leveraging TLV beyond video
       V Go to market plan                                 • Employee engagement plan
       v, PR campaicn                                      • Communications
       S Notifications feature                             • Policies
       S Data/server efficiency




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    insurance Coverage
    See Appendix #5




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     2016 Audited Financial Statements
     Audited Financial Statements have been released by KPMG.
    -See-Appendix #6.




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       Financial Overview: Oct                                                                    =       Dec 2016
                                    Revenue (USD)                                       OperaUng Expenses (USO)
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    Cash (MMs)
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                     57.6




             Oct-15 Nov-15 Dec-15 Jan-16 Feb-16   Mar-16   Apr-16 May-16 Jun-IS Ju~-18 Aug-16 Sep-15 Oct-16 Nov-16 Dec-16


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                                                                                                                            KIK_FOUNDAT ION_CAP_DTS7SB
FCIA cQNFIDENrIM- TREATMENT REQUESTED
                                Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 66 of 68




      Budget vsm Actual: Oct~Dec 2016                                                                                770s77~n:77 ,$..n707..n77,W77~nr’~’
                                                                                                                                                     ~nr~.7r-~

                                                                                   so

      I           -~
          p5* P0)77~                        007371          520007           0~1P44)          .31% .S,,00’*         tho 07th
          Thai 07004,7,                     ~              7075,017         (008.244)         ‘3*0                                                                                                __________________

—I ~.-‘(‘                                                ~                                                                                                                                    -—




                                                                       -   ..~1 ~1 ~      -           __zzzr~~ZZE’””~’”’
                                                                                                                    -. -~


                                           2.220.28)      1.056307             235,578          7%    ~ cc~ 4,10=700           Cfl 074’37t77’.08 587 412204•M r.orfa 7L040471
          £4507.7 1.* 0o,ttos               3.221   57    %577,154           F28.0~7I          1571-Ia~J 0400224’S 5022) bI4IM *47130
                                             527,~3i        087.458           rn~~3            ‘8% . T.C77’CSI 0170 17 **70S4’~ s&-.*oo7d K&P5400
          0734, ~ 0.7708                      SI 1,084      000.94’             05.024           2”
          p,o’,no~45 7074 .tO 707,445070      227,701       (03(68            355227)         .175%   M075872204780”) t’o4’tyr.0. 70477730=55800510000007’ •45450 £40004745.7
          3157,870011815                       ot,577        53.573             ((.7305        .74% .Iksr1 xn75010 008220010 flc8.plt, 7.7387154,70 ~c01’ 5870.08)
                                              820,373       715 5755          350.0750         nt. (.7738507817 nmosa fr455)55 ttO 400754228404 5~80 8c14y00
                                                                                               a .co,anct0058a45~t1755528M~’~-””~’                                        ,,,,_,,,,,,,___,____.—_~ ——_,-—‘-—---—

          Uçol 55341048                     7,270.534       £37,822            7*1.525          51% .10771)7.44,11 boo) e53110,7 4470 Rocrcs 507344707     r74so’o n10155)
          70:0,55                             3000157      7.758 570         1,055.571)         500 142211b2110001001507 so~j 7047774*1000850
              10n0n2 E,~SIbtC,             085774.727    540.035.941       155,087.2551        ‘17%
          ~

                                                                                                15% .755k On 01177140,00)5871)
                                                                                                    ,$147k       ‘  or 11 ~r1 7.851


                                           II 087 41.    17 4113 .27          5~~l1            .70%


           To’rany 0587,084                  573,10       (1,570478)           050 352         87%’B~~ 20115(0000081) *41)0 rc”~~~~’4IJ




            See Appendix #7 for Qua~erly Financial Statements                                                                                                                                                64        11>   r-~.

  lOLA CONFIDENTIAL TREATMENT RECUESTED                                                                                                                                                              KIK_FOUNDATION_CAP_0D5?EO
                    Case 1:19-cv-05244-AKH Document 60-15 Filed 03/20/20 Page 67 of 68




    Headcount                                      Budget vsa Actual
                          180
                          160

                     0,
                     C
                       120
                     C
                       100
                    C
                    C.  80
                    Ui
                        60
                        40
                        20
                          0
                                          Actual             Actual            Budget
                                        CY032016           CYQ42016          CV 042016

                                              ~Technical    fl Operational



                                                                                                        L~
           includes Kik Israel                                                                 65       L~U&~

                                                                                         KIK_FOUNDATID[4_CAP_OD$7?O
FOIA CONFIDENTIAL TREATMENT REQUESTED
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      High Level Cash Flow
~
        Cash Flow from Financing                              0.00
        Cash Flow used in Capital Investments               (0.00)


       ~~1I~r                                                          -




                                                                                        r’C’       P
                                                                                        00       ~ p




FO~A CONDEENTIAL TREATMENT REQUESTED                                              KIKFQUNDAT[ON..CAP_O2S771
